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                 UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF PENNSYLVANIA




 AL’S DISCOUNT PLUMBING;                         Case No: 19-cv-00159
 ACCURATE BACKFLOW AND
 PLUMBING SERVICES, INC.;                        Honorable Christopher C. Conner
 HOMESTEAD HEATING &
 PLUMBING, LLC; AIRIC’S
 HEATING & AIR CONDITIONING,
 INC.; PRIME SOURCE PLUMBING                     Electronically Filed
 & HEATING CORP.; RYAN
 PLUMBING, INC.; MAZZOLA
 PLUMBING HEATING & GAS
 FITTING, INC.; SOUTH SHORE
 HEATING AND PLUMBING, INC.;
 ALL KNIGHT PLUMBING,
 HEATING AND AIR
 CONDITIONING, INC.; PLUMB
 PERFECTION, LLC, individually and
 on behalf of all others similarly situated,

                     Plaintiffs,

   v.

 VIEGA LLC,
                     Defendant.


    ORDER GRANTING PRELIMINARY APPROVAL OF INDIRECT
 PURCHASER PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
 OF CLASS ACTION SETTLEMENT AND APPROVAL OF SETTLEMENT
           ADMINISTRATOR AND CLASS NOTICE PLAN

        Upon consideration of the Indirect Purchaser Plaintiffs’ Motion for Preliminary

Approval of Class Action Settlement with Viega LLC, And Approval of Settlement
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Administrator and Class Notice Plan, and the Declarations of Elizabeth C. Pritzker,

Interim Co-Lead Class Counsel, and Cameron R. Azari, on behalf of the Settlement

Administrator, and exhibits thereto submitted in support, including the proposed

Settlement Agreement, and the Addendum to the Settlement Agreement (Dkt. 96, the

“Addendum”) (collectively, the “Motion”);

      WHEREAS, this litigation involves allegations of anticompetitive conduct in

the copper press fittings and carbon steel press fittings markets; and Defendant denies

liability and denies any violation of the Sherman Act or any other law, and has asserted

many defenses;

      WHEREAS, discovery has proceeded on issues relating to the allegations

asserted in the First Amended Consolidated Class Action Complaint, and Plaintiffs

have had an opportunity to review extensive document productions;

      WHEREAS, Viega denies any wrongdoing or liability relating to any of the

allegations made by the Plaintiffs, and it is agreed among Viega and the Indirect

Purchaser Plaintiffs that the Settlement Agreement (together with the Addendum, the

“Agreement” or “Settlement Agreement”), as a compromise settlement, shall not

constitute, and shall not be construed as or deemed to be evidence of, an admission of

any fault, wrongdoing, or liability by Viega; and

      WHEREAS, the Court has considered the Settlement Agreement, the proposed

Notice, the proposed Plan of Allocation, and the other documents submitted in

connection with Plaintiffs’ request for preliminary approval of the Agreement,
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certification of the Settlement Classes for the purposes of settlement only, and

appointment confirmation of interim counsel for the Settlement Classes, and good

cause appearing;

  IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

       1.      The Motion is GRANTED.

       2.      Terms used in this Order that are defined in the Agreement are, unless

otherwise defined herein, used in this Order as defined in the Settlement Agreement.

                       Preliminary Approval of the Settlement

       3.      The Court finds that: (a) the proposed Settlement with Viega, as set forth

in the Settlement Agreement, is sufficiently fair, reasonable and adequate to authorize

the dissemination of notice of the Settlement to the Settlement Classes members and

to schedule a fairness hearing to determine whether to grant final approval of the

proposed Settlement under Fed. R. Civ. P. 23(e); (b) the Agreement was negotiated at

arm’s-length by experienced counsel acting in good faith with the assistance of Robert

Meyer, an experienced mediator; and (c) there has been adequate opportunity for

discovery by experienced counsel to evaluate the claims and risks at this stage of the

litigation.

       4.      The Court finds that preliminary approval is appropriate and hereby

grants preliminary approval subject to final determination following notice and a

hearing. Further, the Court also grants the Certification of the Settlement Classes,

Appointment of Settlement Classes’ Representatives, and Appointment of Interim
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Settlement Class Counsel.

      5.      For purposes of the settlement of the claims against Viega, and only for

that purpose, and without an adjudication on the merits and other issues between

Plaintiffs and Viega in the event that final approval of the Settlement does not occur,

pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court finds that the

requirements for a class action are met, and the Court provisionally certifies the

following classes solely for purposes of settlement of claims against Viega:

              The “Settlement Classes” means the Nationwide
              Injunctive Class and Multi-State Settlement Subclass,
              which are respectively defined as follows:

              “Nationwide Injunctive Class” means all indirect
              purchasers of Viega ProPress® copper press fittings sold
              by wholesale distributors in the United States during the
              Class Period. (January 29, 2015 to the date of entry of the
              Preliminary Approval Order).

              “Multi-State Settlement Subclass” means all indirect
              purchasers of Viega ProPress® copper press fittings sold
              by wholesale distributors in, or made from a purchaser’s
              principal place of business located within, the states of
              Alabama, Arizona, California, Connecticut, Iowa, Kansas,
              Massachusetts, Michigan, Minnesota, Mississippi,
              Nebraska, Nevada, New Hampshire, New Mexico, New
              York, North Carolina, North Dakota, Oregon, Rhode
              Island, South Dakota, Tennessee, Utah, Vermont, West
              Virginia, Wisconsin and the District of Columbia during
              the Class Period. Excluded from the Class are Persons
              who have settled with, released, or otherwise had claims
              adjudicated on the merits against Viega arising from the
              same core allegations or circumstances as the Litigation
              Claims, occurring after the date of such settlement,
              release, or adjudication on the merits; Any purchases of
              ProPress® copper press fittings directly from Viega for
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              the purpose of resale; Employees of Viega; and The
              Honorable Christopher C. Conner, or any judicial officer
              presiding over this Litigation, and members of his or her
              immediate family and any judicial staff or officer assigned
              to the Litigation


      6.      For purposes of preliminary approval, the Court finds that provisional

certification of the Settlement Classes is warranted in light of the proposed Settlement

under the prerequisites of Federal Rule of Civil Procedure 23(a) because: (1) the

members of the Settlement Classes are so numerous that joinder is impracticable; (2)

there are issues of law and fact common to the class; (3) the Plaintiffs’ claims are

typical of the claims of the Settlement Classes members; and (4) the Plaintiffs and

Interim Class Counsel will fairly and adequately represent the interests of the

Settlement Classes members.

      7.      For purposes of preliminary approval, the Court finds that provisional

certification of the Settlement Classes is warranted in light of the proposed Settlement

under Federal Rule of Civil Procedure 23(b)(2) and (b)(3) because it provides

indivisible injunctive relief benefiting all Settlement Class members at once, and

because common issues of fact and law, including the issue of whether Viega engaged

in anticompetitive behavior, predominate over any questions affecting only individual

members of the Settlement Classes, and further because settlement of this action on a

class basis is superior to other means of resolving the Action.

      8.      The Court finds that the scope of the release in the Agreement is
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sufficiently limited and calls for a release of claims that were or could have been

asserted in this action or that arise from the factual allegations made in this action.

      9.      The Court hereby appoints Plaintiffs Al’s Discount Plumbing; Accurate

Backflow and Plumbing Services, Inc. Homestead Heating & Plumbing, LLC; Airic’s

Heating & Air Conditioning, Inc.; Prime Source Plumbing & Heating Corp.; Ryan

Plumbing, Inc.; Mazzola Plumbing, Heating & Gas Fitting, Inc.; All Knight Plumbing

Heating and Air Conditioning, Inc.; and Plumb Perfection LLC as the Settlement Class

Representatives. The Court preliminarily finds that the Settlement Classes

Representatives have standing to, and will fairly and adequately protect the interests

of the Settlement Classes because: (1) the interests of the Settlement Classes

Representatives are consistent with those of Settlement Class Members; (2) there

appear to be no conflicts between or among the Settlement Classes Representatives

and the other Settlement Classes members; (3) the Settlement Classes Representatives

have been and appear to be capable of continuing to be active participants in both the

prosecution and the settlement of this litigation; and (4) the Settlement Classes

Representatives and Settlement Classes members are represented by qualified,

reputable counsel who are experienced in preparing and prosecuting large,

complicated class action cases, including those concerning alleged violations of the

antitrust laws.

      10.     In making these preliminary findings, the Court has considered, inter alia:

(1) the interest of the Settlement Classes members in individually controlling the
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prosecution or defense of separate actions; (2) the impracticality or inefficiency of

prosecuting or defending separate actions; (3) the extent and nature of any litigation

concerning these claims already commenced; and (4) the desirability of concentrating

the litigation of the claims in a particular forum.

       11.    At this juncture, the Court makes no determination regarding the

manageability of this litigation as a class action, if this litigation were to go to trial.

       12.    The requirements of Rule 23(g) of the Federal Rules of Civil Procedure

are met, and the Court hereby appoints Walter Cohen of Obermayer Rebmann

Maxwell & Hippell LLP, Elizabeth C. Pritzker of Pritzker Levine LLP, Fred T. Isquith,

Sr., of Zwerling, Schachter & Zwerling, LLP, and Thomas H. Burt of Wolf

Haldenstein Freeman Adler Freeman & Herz LLP, as Interim Class Counsel for the

preliminarily-certified Settlement Class.

                                       CAFA Notice

       13.    Pursuant to the Settlement Agreement, Epiq (the Settlement

Administrator) shall provide notice of the Settlement to the appropriate state and

federal officials as provided in the Class Action Fairness Act, 28 U.S.C. § 1715.

                  Notice to Potential Settlement Classes’ Members

       14.    The Court finds that the proposed Settlement with Viega, as set forth in

the Settlement Agreement, subject to final determination following proper notice and

a fairness hearing, is sufficiently fair, reasonable, and adequate to authorize

dissemination of notice to the Settlement Classes.
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      15.    Plaintiffs provided a proposed class Notice and Summary (publication)

Notice to the Court for its review. The Court finds acceptable and approves the form

and content of the: (a) Notice of Proposed Class Action Settlement of Indirect

Purchaser Class Action, as revised on the record at the hearing on preliminary

settlement approval; and (b) Summary (Publication) Notice of Proposed Settlement of

Indirect Purchaser Class Action.

      16.    The Court finds that the dissemination of the Notice and Summary Notice

in the manner set forth herein constitutes the best notice practicable under the

circumstances and is valid, provides due and sufficient notice to all persons entitled to

notice and complies fully with the requirements of Federal Rule of Civil Procedure 23

and due process.

      17.    By November 15, 2020, Settlement Class Counsel shall file with the

Court their motion for final approval of the Settlement and motion for attorneys’ fees,

expenses, and service awards, along with proof that notice was provided to the

Settlement Classes’ members as directed by this Order.

      18.    All requests for exclusion from the Settlement Classes must be in writing,

postmarked no later than November 30, 2020.

      19.    Any member of the Settlement Classes who objects to the proposed

Settlement, must do so in writing, postmarked no later than November 30 , 2020, and

shall otherwise comply with the requirements set forth in the Notice.

      20.    Interim Class Counsel shall file with the Court and serve on the parties
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their responses to any objection(s) to the Settlement and/or the motion for attorneys’

fees, expenses, and service awards, by December 10, 2020.

      21.     The Court will hold a Fairness Hearing on December 17, 2020, at

11:00 a.m. Eastern Time at the Ronald Reagan Federal Building & United States

Courthouse, 228 Walnut Street, Harrisburg, PA 17101, to determine the fairness,

reasonableness, and adequacy of the proposed Settlement with Viega. Any of the

Settlement Classes members who follow the procedures set forth in the Notice may

appear and be heard. The Fairness Hearing may be rescheduled, adjourned or

continued, or converted to telephonic or video conference proceedings, without further

notice to the Settlement Classes members. Any such scheduling or format changes

will be set forth on the settlement website at www.PressFittingsSettlement.com as well

as the Court’s docket.

                                  Other Provisions

      22.     In the event that the Settlement is validly terminated as provided for in

the Settlement Agreement, all proceedings had in connection with the Settlement and

any orders regarding the Settlement shall be null and void, except insofar as expressly

provided to the contrary in the Settlement Agreement, and without prejudice to the

status quo ante rights of the Plaintiffs, Viega, and the members of the Settlement

Classes.

      23.     In the event that the Settlement does not become final and effective for

any reason, nothing in the Settlement Agreement, this Order or proceedings or orders
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regarding the Settlement shall be construed to prejudice any position that any of the

parties may assert in any aspect of this litigation.

      24.      Neither the Settlement Agreement, nor any of its terms or provisions, nor

any of the negotiations or proceedings in connection with it, shall be construed as an

admission or concession of Viega of the truth of any allegations in the litigation, or of

any fault or wrongdoing of any kind, or of Plaintiffs of any lack of merit in Plaintiffs’

allegations.

      25.      Epiq is approved to serve as Settlement Administrator.

      26.      The litigation against Viega by the Indirect Purchaser Plaintiffs is stayed

except as provided for in the Agreement and to the extent necessary to obtain final

approval of the Settlement.


        September 18, 2020
Dated: ________________                          /S/ Christopher C. Conner
                                                ________________________________
                                                       Christopher C. Conner, Judge
                                                         United States District Court
                                                      Middle District of Pennsylvania
